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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO




 JULIO ABISLAIMAN
                                                   CIVIL NO.
                    Plaintiff


                   V.                              RE: COLLECTION OF MONEY,
 CHRIS DELGATTO AND DELGATTO, INC.                 BREACH OF CONTRACT AND
                                                   COMPENSATORY DAMAGES
                  Defendants




                                       COMPLAINT

TO THE HONORABLE COURT:

COMES NOW PLAINTIFF, Julio Abislaimán, also known as Julio Abislaimán González

(“Plaintiff” or “Abislaimán), by and through his undersigned legal counsel, and, for his

causes of action against defendants, Chris Delgatto and Delgatto, Inc. (hereinafter jointly

referred to as “Defendants” or “Delgatto”), respectfully avers and prays as follows:

                                  I.     INTRODUCTION

1.1.   This is a civil action by Plaintiff seeking compensatory damages and the collection

       of money due by Defendants to Plaintiff, as a result of Defendants’ breach of a

       binding agreement entered into in San Juan, Puerto Rico, by Defendants and


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       Abislaimán, on or about September 9, 2017 (the “Agreement”). Abislaimán duly

       performed all his contractual duties pursuant to the Agreement, but Delgatto

       breached the Agreement and, despite numerous written requests by Abislaimán

       and promises of payment by Delgatto, Defendants have failed to pay to Abislaimán

       the principal sum of one hundred five thousand dollars ($105,000), plus interest,

       due to Abislaimán pursuant to the Agreement.

1.2.   Moreover, Delgatto’s breach of the Agreement has caused severe damages to the

       business and reputation of Abislaimán, and has negatively affected Abislaimán’s

       ability to conduct his jewelry business in Puerto Rico, in his own name and also

       doing business as Joyería Riviera and/or Riviera Jewelry, causing additional

       damages to Abislaimán in an amount of not less than one hundred thousand

       dollars ($100,000).

                                   II.    THE PARTIES

2.1.   Plaintiff, Julio Abislaimán, also known as Julio Abislaimán González, is an

       individual person who (i) resides at 283 Jilguero Street, Montehiedra, San Juan,

       Puerto Rico 00926; and (ii) conducts a jewelry business in his personal capacity

       and also as Joyería Riviera and/or Riviera Jewelry, from a store presently located

       at Suite A-3, Galería San Patricio, B-5, Tabonuco Street, Guaynabo, Puerto Rico

       00968.

2.2.   Defendant Delgatto, Inc. is a Delaware corporation with a place of business located

       at 16 East 52nd Street, 7th Floor, New York, New York 10022. Delgatto, Inc. is

       controlled by defendant Chris Delgatto.




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2.3.   Defendant Chris Delgatto is an individual person who controls Delgatto, Inc. Upon

       information and belief, he is married and a resident of the Greater New York

       Metropolitan Area, in the State of New York. His exact residential address is not

       known to Plaintiff. His business address is 16 East 52nd Street, 7th Floor, New

       York, New York 10022.

                              III.     JURISDICTION AND VENUE

3.1.   This Court has jurisdiction over this lawsuit under 28 U.S.C.§1332, since the

       parties are citizens of different states or territories of the United States of America

       and thus, there is complete diversity.       Moreover, the amount in controversy

       exceeds $75,000 exclusive of interest and costs.

3.2.   Venue properly lies in this District under 28 U.S.C.§1391 (a) (1) and (b) (2),

       because a substantial part of the events or omissions giving rise to this claim

       occurred in Puerto Rico, most of the jewelry purchased through Abislaimán and

       delivered to Delgatto pursuant to the Agreement was purchased in Puerto Rico,

       and at least one very significant piece of jewelry included in the Agreement was

       sold in Puerto Rico.

                                     IV.   GENERAL ALLEGATIONS

4.1.   Delgatto is in the business of buying diamonds, jewelry and watches from both the

       public and the trade, globally, as well as of reselling them, while Abislaimán has

       been in the jewelry retail business in Puerto Rico, personally and doing business

       as Joyería Riviera and/or Riviera Jewelry, since the 1970’s.

4.2.   In the second half of calendar year 2017, Delgatto, Inc. and Chris Delgatto wanted

       to expand their business to Puerto Rico, South America and Mexico, and Chris



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       Delgatto visited Abislaimán in Puerto Rico and started negotiations with Abislaimán

       to (i) persuade Abislaimán to change the main focus of Abislaimán’s business from

       traditional retail sales to primarily buying from the public and the trade; and (ii)

       enter into a joint business or partnership with Delgatto for business in Puerto Rico,

       with the ultimate goal of also expanding to Mexico and South America as well.

       Said negotiations took place in San Juan, Guaynabo and Dorado, Puerto Rico.

4.3.   As a result of the aforesaid negotiations, Delgatto and Abislaimán entered into the

       Agreement in San Juan, Puerto Rico, on or about September 9, 2017. A copy of

       the Agreement is attached hereto and made a part hereof as Exhibit 1. According

       to the principal provisions of the Agreement:

       4.3.1. Abislaimán became the full time Director of Delgatto for Puerto Rico, South

               America and Mexico. His day to day role was to promote and pursue

               purchasing opportunities from both the public and the trade. Abislaimán

               also became responsible for initial evaluations of the items that would be

               offered or presented for sale and for managing the staff, with the provision

               that all single item purchases over ten thousand dollars ($10,000) needed

               the prior approval of Mr. Chris Delgatto, unless specified otherwise by Mr.

               Delgatto on a case by case basis.

       4.3.2. Abislaimán would pay for location rent and all associated expenses, as well

              as salary for Nilda, the sole employee of Abislaimán’s store in Puerto Rico.

       4.3.3. Delgatto would pay for monthly marketing as well as for the cost of goods

             purchased for the business.




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         4.3.4. Delgatto would assist in providing watches and jewelry “on memo”1, to be

                sold at the store in Puerto Rico. Goods owned by Abislaimán which were

                to be sold at the store did not fall into the Agreement.

         4.3.5. Both parties would devise a number of different marketing and

                communications tactics to create awareness of the business in Puerto Rico.

         4.3.6. Both parties would work to create press releases around the launch of their

                joint business in Puerto Rico and to start to create momentum for the

                business in Puerto Rico.

         4.3.7. The Puerto Rico store was located at the Caribe Hilton Hotel, but relocated

                to Galería San Patricio because the Caribe Hilton Hotel closed after being

                severely damaged by hurricane María, on September 20, 2017.

         4.3.8. Profits would be divided equally (one half for each party) on both purchased

                or “memo’d” in store sales. The only deduction against profits would be

                advertising against purchased goods.

         4.3.9. Abislaimán complied with all his obligations pursuant to the Agreement, but

                Delgatto has breached the Agreement. Delgatto has failed, inter alia, to pay

                to Abislaimán $105,000 of profits earned by Abislaimán pursuant to the

                Agreement, as follows:




1   “On memo” means on consignment.

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                       STATEMENT OF ACCOUNT AMOUNTS
                 OWED TO ABISLIAMÁN BY CHRIS DELGATTO AND/OR
                 DELGATTO ACCORDING TO ABISLAIMAN’S RECORDS
            Purchases/Sales                     Abislaiman’s Share of Profits                      Owed

        Nov-Dec 2017 purchased
        DS’s2 estate for                                                 $80,000
        Aprox $460,000                                   Received -      $45,000                 $ 35,000

        July 13, 2018 purchased
        AV’s3 estate for
        $135,400                                                         $25,000                 $ 25,000

        May 24, 2018 sold a
        Diamond ring to M. de la C.4
        for $550,000                                                     $60,000                 $ 60,000

        Total Owed:                                                                              $120,000

        Jan 4, 2019 received check                                                                - 10,000

       June 22, 2019 received check                                                               - 5,000

       Balance Owed                                                                              $105,000



        4.3.10. Abislaimán has demanded payment of the aforesaid sum of $105,000,

                without success, and Delgatto has admitted the existence of the debt and

                has promised to pay it, but it remains unpaid. See string of e-mails attached

                hereto and made integral parts hereof as composite Exhibit 2, as well as

                letter dated March 12, 2019, from attorney Francisco Pujol, on behalf of

                Abislaimán, to Chris Delgatto, personally and as representative of Delgatto,

                Inc., attached hereto and made an integral part hereof as Exhibit 35.




2  Only initials of customer appear herein. Full name will be disclosed during hearings on a confidential
basis.
3 Only initials of the customer appear herein. Full name will be disclose during hearings on a confidential

basis.
4 Only initials of the customer appear herein. Full name will be disclosed during hearings on a confidential

basis.
5 The names of the customers have been redacted in the enclosed copy of the letter. They will be disclosed

during the hearings on a confidential basis.

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            Furthermore, the last check received on June 22, 2019, of only $5,000 by

            Delgatto was all that could be collected after multiple requests by

            Abislaimán. Said payment establishes that the debt exists and that Delgatto

            is deliberately delaying the payment of the debt, without any real intention

            of completing it.

     4.3.11. Other breaches of the Agreement by Delgatto include, inter alia, the

            following:

                   (i)     Substantial breach by Delgatto of its obligation to assist in

                   providing watches and jewelry “on memo”, to be sold at the Puerto

                   Rico store.

                   (ii)    Substantial breach by Delgatto of its obligation to devise a

                   number of different marketing and communications tactics to create

                   awareness of the business in Puerto Rico.

                   (iii)   Failure by Delgatto to pay for monthly marketing as well as for

                   the cost of goods purchases for the business.

                   (iv)    Failure by Delgatto to pay Abislaimán’s shares of profits, as

                   per the Agreement.

                   (v)     Failure by Delgatto to communicate with Abislaimán and to

                   answer Abislaimán’s calls and correspondence.

4.4. To induce Abislaimán to enter into the Agreement, Delgatto represented to

     Abislaimán that Delgatto had sufficient financial resources to comply with its

     financial obligations pursuant to the Agreement.




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4.5. The Agreement was drafted by Delgatto and signed by Abislaimán in good faith,

       without changes. Abislaimán did not participate in the drafting of the Agreement

       and executed it without consulting any lawyer.

4.6. After executing the Agreement, Delgatto, directly or through related entity(ies),

       started the so-called “Delgatto Diamond Finance Fund”, designed by and for the

       diamond and jewelry industry, to provide asset-based financing. Said venture has

       required substantial contributions of money by Delgatto and has significantly

       reduced the resources that Defendants needed to be able to comply with their

       obligations pursuant to the Agreement. See copy of advertising of the Delgatto

       Diamond Finance Fund attached hereto and made an integral part hereof of Exhibit

       4.

                               V.    FIRST CAUSE OF ACTION
                                      (BREACH OF CONTRACT)

5.1.   All preceding allegations are included herein as if restated in full.

5.2.   Plaintiff and Defendants entered into the Agreement, which is a valid contract.

5.3.   Defendants and Plaintiff had a duty to comply with the Agreement and to honor

       their respective obligations thereunder. Plaintiff has complied with the Agreement.

5.4.   Defendants have breached the Agreement, as explained in Section IV and in other

       sections of this Complaint.

5.5.   The breach of the Agreement by Defendants has caused severe losses to Plaintiff,

       which include: (i) $105,000 of funds due pursuant to the Agreement, as more fully

       detailed in Section 4.3.9, supra; plus (ii) pre-judgment interest thereon at the legal

       rate from March 12, 2019, until a judgment is issued; plus (iii) the sum of one

       hundred thousand dollars ($100,000) for damages caused to Abislaimán and his

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       business as a result of Defendants’ breach of the Agreement; (iv) plus post

       judgment interest at the legal rate on the principal sum of $205,000, from the date

       of the judgment until full payment thereof.

5.6.   As a result of Defendants’ breach of contract, they owe to Plaintiff the sum of

       $205,000, plus interest on $105,000 at the pre-judgment legal rate from May 24,

       2019, until a judgment is issued, plus interest on $205,000 at the post judgment

       legal rate starting when a judgment is issued and until full payment thereof, plus

       attorneys’ fees, costs and expenses incurred by Plaintiff in this litigation.

                             VI.       SECOND CASE OF ACTION
                                     (COMPENSATORY DAMAGES)

6.1.   All preceding allegations are included herein as if restated in full.

6.2.   As a result of their breach of the Agreement, Defendants owe the sums mentioned

       in Section 5.6, supra, which are due, demandable and payable, and are hereby

       demanded by Plaintiff.

                              VII.     THIRD CAUSE OF ACTION
                                     (COLLECTION OF MONEY)

7.1.   All preceding allegations are included herein as if restated in full.

7.2.   Plaintiff hereby demands the payment of the sums due to him include and detailed

       on Section 5.6, supra; which are due, demandable and payable.

                          VIII. FOURTH CAUSE OF ACTION
                      (DEMAND FOR ATTORNEY’S FEES, PRE-JUDGMENT
                               INTEREST & OTHER EXPENSES)

   8.1.    All preceding allegations are included herein as it restated in full.

   8.2.    Pursuant to the laws of the Commonwealth of Puerto Rico, a person who is

           obstinate in fomenting litigation and/or protracting litigation, or refusing to



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               recognize and obligation, is liable for attorney’s fees incurred by Plaintiff in the

               prosecution of his claim, as well as for pre-judgment interest and costs and

               expenses incurred by Plaintiff in the litigation.

      8.3.     Defendants have been obstinate in that, although they have been on notice of

               the nature and extent of the damages suffered by Plaintiff as a result of

               Defendants’ breach of the Agreement, as well as of the amounts owed by

               Defendants to Plaintiff pursuant to the Agreement, Defendants have taken no

               action on the matter and have, in fact, given Plaintiff no alternative other than

               filing this Complaint.

      8.4.     Plaintiff demands the payment by Defendant of attorney’s fees and costs and

               expenses incurred and to be incurred by Plaintiff in these proceedings, as well

               as of pre-judgment interest on $105,000, at the legal rate, from March 12, 2019,

               until a judgment is issued on this case, plus al other sums mentioned in Section

               5.6, supra.

                                           IX. TRIAL BY JURY

      9.1.     Plaintiff respectfully request to trial this case by jury.

              WHEREFORE, Plaintiff demands that judgment be entered against Defendants

Delgatto, Inc. and Chris Delgatto, thus ordering Defendants, jointly and severally, to pay

to Plaintiff the following sums:

i.       $105,000 principal due pursuant to the Agreement; plus

ii.      Pre-judgment interest on $105,000, from March 12, 2019, until a judgment is

         issued in this case, at the applicable pre-judgment interest legal rate.




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iii.   The sum of $100,000 of compensatory damages for the losses caused to Plaintiff’s

       business as a result of Defendants’ breach of the Agreement.

iv.    Interest on $205,000, at the post-judgment legal rate, from the date of the judgment

       until full payment thereof.

v.     Reasonable attorneys’ fees, costs and expenses.



       RESPECTFULLY SUBMITTED.



       In San Juan, Puerto Rico, on this 1st day of July 2019.



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